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 1 LAW OFFICES OF CHRIS COSCA
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   (916) 440-1010
 4 Attorney for Defendant
   JAMES RANDOLPH SHERMAN
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 7
 8                             IN THE UNITED STATES DISTRICT COURT
 9                                EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                       2:13-CR-00302 MCE
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                                    Plaintiff,       STIPULATION REGARDING EXCLUDABLE
12                                                   TIME PERIODS UNDER SPEEDY TRIAL ACT;
                             v.                      ORDER
13
     JAMES RANDOLPH SHERMAN,                         DATE: January 12, 2017
14                                                   TIME:  10:00 a.m.
                                    Defendant.       COURT: Hon. Morrison C. England, Jr.
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16
                                                 STIPULATION
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           1.      By previous order, this matter was set for status on January 12, 2017.
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           2.      By this stipulation, the parties now move to continue the status conference to
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     February 23, 2017 and to exclude time between January 12, 2017 and February 23, 2017,
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     under Local Code T4.
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           3.      The parties agree and stipulate, and request that the Court find the following:
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                   a)     Discovery associated with this case includes 146 pages and multiple
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           CD/DVDs, some of which include lengthy surveillance, video and audio. This discovery
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           has been either produced directly to counsel and/or made available for inspection and
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           copying.
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                   b)     Defense counsel desires additional time to review discovery, investigate,
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           and to confer with his client concerning discovery, investigation, potential options for the
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           defense and trial preparation.
      STIPULATION TO CONTINUE STATUS CONF             1
           Case 2:13-cr-00302-MCE Document 110 Filed 01/11/17 Page 2 of 3


 1                c)     Counsel for defendant believes that failure to grant the above-requested

 2        continuance would deny counsel the reasonable time necessary for effective

 3        preparation, taking into account the exercise of due diligence.

 4                d)     The government does not object to the continuance.

 5                e)     Based on the above-stated findings, the ends of justice served by

 6        continuing the case as requested outweigh the interest of the public and the defendant

 7        in a trial within the original date prescribed by the Speedy Trial Act.

 8                f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.

 9        § 3161, et seq., within which trial must commence, the time period of January 12, 2017

10        to February 23, 2017, inclusive, is deemed excludable pursuant to 18 U.S.C.§

11        3161(h)(7)(A), B(iv) [Local Code T4] because it results from a continuance granted by

12        the Court at defendants’ request on the basis of the Court’s finding that the ends of

13        justice served by taking such action outweigh the best interest of the public and the

14        defendant in a speedy trial.

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     STIPULATION TO CONTINUE STATUS CONF            2
            Case 2:13-cr-00302-MCE Document 110 Filed 01/11/17 Page 3 of 3


 1         4.      Nothing in this stipulation and order shall preclude a finding that other provisions

 2 of the Speedy Trial Act dictate that additional time periods are excludable from the period
 3 within which a trial must commence.
 4         IT IS SO STIPULATED.

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     Dated: January 9, 2017                              /s/ Chris Cosca for
 7                                                       JASON HITT
                                                         Assistant United States
 8                                                       Attorney
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11 Dated: January 9, 2017                                /s/ Chris Cosca
                                                         CHRIS COSCA
12
                                                         Counsel for Defendant
13                                                       JAMES SHERMAN

14
15                                                ORDER

16         IT IS SO ORDERED.

17 Dated: January 10, 2017
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      STIPULATION TO CONTINUE STATUS CONF            3
